Case 1:21-cv-00800-CPO-AMD Document 68 Filed 11/16/21 Page 1 of 1 PagelD: 2912
HELMER, CONLEY & KASSELMAN, P.A.

ATTORNEYS AT LAW

Please reply to:

600 Beverly-Rancocas Road
Willingboro, NJ 08046
Tel: 836-428-5700
Pan: 888-387-0499
November 16, 2021
VIA ECF & U.S.P.S. PRIORITY MAIL
Hon. Renée Marie Bumb, U.S.D.J.
United States District Court
District of New Jersey Camden
Mitchell H. Cohen Building & U.S. Courthouse
4he Cooper Streets, Room 1050
Camden, New Jersey 08101

RE: Affinity Healthcare Group Voorhees, LLC, et al. v. Voorhees Twp., et al.
Civil Action No.: 1:21-cv-00800-RMB-AMB
Our File No. 16805

Dear Judge Bumb:

Please be advised that I represent Plainuffs Affinity Healthcare Group Voorhees, LLC and
Dr. Kenneth Brown in the matter referenced above. Pending before Your Honor are Defendants
Voorhees Township Planning Board and Voorhees Township Zoning Board’s Motions for Summary
Judgment, currently returnable on December 6, 2021.

Defendants’ motions are extensive and reference exhibits, which total 450 pages. | am
therefore requesting a one-cycle adjournment to December 20, 2021, which will allow me sufficient
time to review the motions, discuss them with my clients, and file an opposition on or before
December 6, 2021. I have obtained the consent of J. Brooks DiDonato, Isq., who has entered an
appearance on behalf of all Defendants in this matter, to adjourn the motions. I have requested but
have not received a reply from Christopher J. Norman, Esq., who filed the aforementioned motions
on behalf of the Defendant Boards.

Thank you for your consideration of this request.

Respectfully yours,

  

1ELW AR, CONLEY & KASSELM:

 
  
 

SRjr/Inn

ce: J. Brooks DiDonato, Esq. (va ECT ¢> E-Mail)
John C. Gillespie, Esq. (a ECV ¢> E-Mail)
Stuart Platt, Esq. (wa ECE ¢> E-Mail)
Christopher Norman, Esq. (wa ECT ¢ E:-Mait)
Plaintiffs (#a E-Mail only)

Main Office: 111 White Horse Pike Ml Haddon Heights, NJ 08035 M Tel: 854-547-7888 MH www.HelmerLegal.com
